     Case: 1:21-cv-00238-MRB Doc #: 64 Filed: 06/11/24 Page: 1 of 8 PAGEID #: 2594




                                  UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF OHIO
                                       WESTERN DIVISION

    PHILIP R. MCHUGH,                                           :   Case No. 1:21-cv-00238
                                                                :
                                     Plaintiff,                 :   Judge Michael R. Barrett
                                                                :
    v.                                                          :   PLAINTIFF'S MEMORANDUM IN
                                                                :   OPPOSITION TO RHR
    FIFTH THIRD BANCORP, ET AL.                                 :   INTERNATIONAL, LLP’S MOTION
                                                                :   FOR LEAVE TO FILE SUR-REPLY AS
                                     Defendants.                :   TO PLAINTIFF'S MOTION TO
                                                                :   COMPEL PRODUCTION

              Nearly two months after the motion to compel briefing concluded, RHR seeks leave to file

a sur-reply simply to have the last word. This Court should deny RHR’s request because (1) it is

untimely; (2) RHR cannot establish good cause for the filing, because none exists; and (3)

notwithstanding that the filing should not be permitted, RHR’s arguments and objections have no

merit. Additionally, an Affidavit of Counsel with supporting exhibits is being submitted to

chambers for an in-camera review.1

         I.      Sur-replies are highly disfavored, and only permitted upon good cause shown.

              Sur-replies are “highly disfavored, as they are usually a strategic effort by the nonmoving

party to have the last word on a matter.” Garrison Southfield Park LLC v. Closed Loop Ref. &

Recovery, Inc., No. 2:17-cv-783, 2021 U.S. Dist. LEXIS 183915, at *61-62 (S.D. Ohio Sept. 27,

2021), citing Loomis v. Unum Grp. Corp., 539 F.Supp.3d 898, 905 (E.D. Tenn. 2021). “Only in

rare instances…will this Court permit the filing of a sur-reply.” Hellmuth v. City of Trenton, No.

1:19-cv-258, 2019 U.S. Dist. LEXIS 130144, at *17 n.9 (S.D. Ohio Aug. 5, 2019). In fact, the law



1
  Contemporaneous with the filing of this memorandum, Plaintiff is submitting an Affidavit of Counsel with
supporting Attachments 1-4 to the Court for in-camera review. Plaintiff is not filing such exhibits due to confidentiality
designations provided by Defendants in such exhibits, and pursuant to Paragraph 8 of the parties’ stipulated protective
order. (See Doc. # 16, PAGEID #1876).

                                                            1
  Case: 1:21-cv-00238-MRB Doc #: 64 Filed: 06/11/24 Page: 2 of 8 PAGEID #: 2595




in this district is clear – the filing of a sur-reply is only warranted upon a showing of good cause

and where necessary to respond to new grounds raised in a reply brief. Comtide Holdings, LLC v.

Booth Creek Mgmt. Corp., No. 2:07-cv-1190, 2010 U.S. Dist. LEXIS 114665, at *9-10 (S.D. Ohio

Oct. 19, 2010); See also S.D. Ohio L.R. 7.2(a)(2) (“No additional memoranda beyond those

enumerated are permitted except upon leave of court for good cause shown.”).

         When the movant’s reply brief and evidence attached stay within the bounds of the original

briefing, or when the respondent has sufficient notice of the movant’s arguments in the original

motion and could have responded to them in the opposition brief, a sur-reply is not warranted.

Modesty v. Shockley, 434 F. App'x 469, 472 (6th Cir. 2011)(holding that the district court did not

abuse its discretion in denying leave to file a sur-reply when the movant’s reply “stayed within the

bounds of the original briefing”); United States v. Kemmerling, No. 17-6515/6516, 2019 U.S. App.

LEXIS 27960, at *4 (6th Cir. Sep. 17, 2019)(holding that a sur-reply is not justified when the

“proposed sur-reply expands on the arguments made in [the] reply brief”); In re Commercial

Money Ctr., Inc., 2006 U.S. Dist. LEXIS 25921, at *9 n.4 (N.D. Ohio May 3, 2006)(denying leave

to file a sur-reply when the respondent had sufficient notice of arguments made in the movant’s

reply brief and could have responded to them in its opposition brief); Bruno v. Kline, No.

4:09CV574, 2010 U.S. Dist. LEXIS 139565, at *7 (N.D. Ohio Aug. 12, 2010)(holding that because

the respondent had notice of the movant’s arguments when the respondent filed its opposition

brief, granting leave to file a sur-reply would not be justified).

   II.      RHR’s request for a sur-reply is untimely.

         From the outset, RHR’s motion for leave for a sur-reply should be denied due to the

unexplained delay in seeking such leave. Plaintiff filed its Reply in Support on April 10, 2024, and

RHR did not seek leave until 51 days later on May 31, 2024, attaching a copy of their prepared



                                                   2
  Case: 1:21-cv-00238-MRB Doc #: 64 Filed: 06/11/24 Page: 3 of 8 PAGEID #: 2596




sur-reply. See Doc # 61; Doc # 62. Such “[a]n unexplained delay in seeking leave to file a surreply

may justify its denial.” Maatuk v. Emerson Elec., Inc., No. 1:16-CV-03023, 2019 U.S. Dist. LEXIS

23536, at *2 (N.D. Ohio Feb. 13, 2019). Particularly where, as here, RHR’s request for leave came

almost two months after the reply brief. See id. (holding that an “unexplained one-month delay in

seeking leave to file a sur-reply renders [the] motion untimely”); Key v. Shelby Cty., 551 F. App'x

262, 265 (6th Cir. 2014)(holding that an “unexplained delay of six months in moving for leave to

file the sur-reply justified its denial.”); Seay v. TVA, 339 F.3d 454, 481 (6th Cir. 2003) (district

courts are only required to provide an “adequate opportunity to respond to new evidence,” not an

indefinite opportunity).

          Indeed, if this Court were to grant RHR’s request, RHR would have had almost four-times

as long to file a sur-reply as Plaintiff did to file his reply. See S.D. Ohio L.R. 7.2(a)(2)(“Any reply

memorandum shall be filed within fourteen days after the date of service of the memorandum in

opposition.”); See also Phx. Process Equip. Co. v. Capital Equip. & Trading Corp., No. 3:16-CV-

00024-CHB, 2022 U.S. Dist. LEXIS 140668, at *12 (W.D. Ky. July 18, 2022)(“[I]t defies logic

that Defendants would be permitted twenty-eight days to request leave to file a sur-reply, four

times as many days as Phoenix had to file its reply brief.”). Such a result is unfairly prejudicial to

Plaintiff and is grounds in itself to deny leave.

   III.      RHR has not established good cause for leave to file a disfavored sur-reply.

          Notwithstanding the lack of timelines, RHR also has not, and cannot, establish good cause

for a sur-reply; and certainly not based upon RHR’s meritless “relevance” argument nor RHR’s

false claims of Plaintiff mischaracterizing the applicable facts and law.

          1. RHR was well aware that the subpoenas included requests for its assessment work on
             Greg Carmichael in 2015.




                                                    3
  Case: 1:21-cv-00238-MRB Doc #: 64 Filed: 06/11/24 Page: 4 of 8 PAGEID #: 2597




       RHR feigns a lack of awareness that their assessment of Greg Carmichael was at issue in

Plaintiff’s motion to compel. This is wrong. RHR was well aware that its assessment work on

Carmichael was being sought by Plaintiff via subpoena, given (1) it was part of the supplemental

subpoena served on RHR on April 21, 2023; (2) Plaintiff filed a motion to compel seeking an order

compelling RHR to produce documents in response to the subpoenas, including both the original

and the supplemental; and (3) RHR referred to the requests pertaining to Carmichael’s 2015

assessment in their memorandum in opposition. See Doc. # 59, PAGEID#2522 (quoting requests

from the April 21, 2023 supplemental subpoena).

       As to RHR’s claims that Plaintiff “makes no mention [in its initial motion] of why RHR’s

evaluation from 2015 of Michael [sic] Carmichael is relevant,” this is simply not a basis to grant

leave to file a sur-reply, particularly where RHR has not made any specific objections as to the

relevance of the Carmichael documents in the first place. See Fed. R. Civ. P. 45(d)(2)(“A person

commanded to produce document or tangible things…may serve on the party or attorney

designated in the subpoena a written objection…the objection must be served before the earlier of

the time specified for compliance or 14 days after the subpoena is served.”); Covert Mfg., Inc. v.

Covert Innovations, LLC. N.D.Ohio No. 1:21-CV-1682-DAR n.6, 2024 U.S. Dist. LEXIS 38992

(Mar. 1. 2024)(“Regarding relevance, CMI's brief fails to contest the relevance of the information.

CMI's objections to Defendant's third-party subpoenas also do not include specific relevance

objections.”). RHR submitted nothing but blanket “relevance” objections to each subpoena, and

any attempts to more specifically assert them now, after briefing concluded two months ago, is

untimely.

       Even if the Court were to consider RHR’s untimely relevance objections (which it should

not), the relevance objections are meritless.



                                                4
  Case: 1:21-cv-00238-MRB Doc #: 64 Filed: 06/11/24 Page: 5 of 8 PAGEID #: 2598




        RHR incorrectly claims that the prior CEO assessment is irrelevant because it was “five

years earlier,” pursuant to a “different request for services” and “in response to a different set of

criterion.”

        First, “five years earlier” is the last time the Bank conducted a CEO assessment, and there

is no documentary evidence of any CEO succession work by RHR or any other outside firm

between that time and when RHR assessed Spence in 2020. In fact, there is a glaring lack of any

documentation of succession planning work between 2015-2019 by the Board, RHR, or any other

third party. The CEO succession steps taken in 2015 are certainly relevant for establishing the

impropriety of the steps taken in 2020.

        Next, the “services” provided by RHR in 2015 and 2020 were in fact the same: assess

potential candidates for CEO of Fifth Third Bank, and report back to the Bank with its findings.

Carmichael Dep. 305:17-22 387:8-389:14 (Attachments 1-2).

        Finally, while RHR claims it was acting “in response to a different set of criterion”

provided by the Bank, a review of the 2015 and 2020 CEO Profiles show identical “essential

leadership behavior” categories (Business Management, Leadership, Interpersonal, Personal

Attributes. (Attachments 3-4). Either way, if the 2020 assessment deviated from the typical CEO

succession processes, that only makes the evidence more relevant for purposes of Plaintiff’s

claims. Fijalkowski v. Belmont Cty. Bd. Of Commrs., S.D. Ohio No. 2:17-cv-0195, 2021 U.S. Dist.

LEXIS 92840, at *19 (May 17, 2021)(“The Sixth Circuit has found that ‘evidence of irregularities

in the application and selection process’ can raise a genuine issue of pretext when combined with

other indicators of discriminatory motivations.”); Seaton v. Perdue, E.D.Ky. No. 5:16-CV-309-

REW, 2019 U.S. Dist. LEXIS 167837, at *21 (Sep. 30, 2019)(“Typically, idiosyncrasies in the

selection process are a plaintiff-favorable factor in the pretext analysis.”).



                                                   5
  Case: 1:21-cv-00238-MRB Doc #: 64 Filed: 06/11/24 Page: 6 of 8 PAGEID #: 2599




        RHR’s claims of irrelevance are meritless.

        2. Purported mischaracterizations of the facts or law are not a basis for a sur-reply.

        Next, RHR claims Plaintiff supposedly made “mischaracterizations” in their arguments.

See Doc # 63 PAGEID # 2591; Doc # 62-1 PAGEID # 2588-2589. Notwithstanding that no

mischaracterizations were made by Plaintiff, this is not a valid basis for a sur-reply either. Young

v. Hooks, No. 2:16-cv-250, 2019 U.S. Dist. LEXIS 28605, at *2-3 (S.D. Ohio Feb. 22, 2019).

(“Selective and/or misleading assessment of the law and facts does not constitute new grounds that

would provide a proper basis to support leave to file a surreply. This is because courts are ‘quite

capable of determining whether a party inaccurately presents the facts that are in the record and to

assess the law that is controlling of the issues before it.’”).

        Moreover, the purported mischaracterizations claimed by RHR are baseless, and their sur-

reply only serves to confuse the record.

        First, RHR claims that Plaintiff somehow mischaracterized the apparent lack of burden on

RHR in producing the subpoenaed documents. But this lack of burden is based upon direct

language from a contract between RHR and Fifth Third that RHR submitted. Further, the contract

is clear that Fifth Third is obligated to indemnify RHR for all attorney’s fees, and the time of

RHR’s consultants at their regular rates, in responding to Plaintiff’s subpoenas. RHR bears no

financial burden in producing the documents, and as far as confidentiality concerns, those are

adequately addressed by the Court’s stipulated protective order. The mischaracterizations over the

burdens associated with production are not Plaintiff’s, but RHR’s.

        Next, RHR argues that one case—Atlas—in a string-cite of Plaintiff’s reply brief,

establishes that this Court should not enforce the subpoenas based upon them being filed in the

wrong forum. See Doc # 62-1 PAGEID # 2589. In doing so, RHR cites a footnote of dicta in the



                                                    6
  Case: 1:21-cv-00238-MRB Doc #: 64 Filed: 06/11/24 Page: 7 of 8 PAGEID #: 2600




decision about the proper forum for filing a motion to enforce a subpoena, in which the Court

makes clear that it is not deciding that issue because neither party raised it. Atlas Indus. Contrs.

LLC v. In2Gro Technologies LLC S.D.Ohio No. 2:19-cv-2705 n.3, 2020 U.S. Dist. LEXIS 63183

(Apr. 10, 2020).

         Because Atlas did not decide this issue and neither party briefed it, RHR’s attempts to

utilize it as an authority for this Court is misguided. That is particularly so where there is a dearth

of authority finding that the proper forum is the place of compliance on the face of the subpoena.

See Doc # 61, PAGEID # 2550 (collecting authorities recognizing that “place of compliance” is

the place where compliance is identified on the face of the subpoena).

   IV.      Conclusion

         For the foregoing reasons, Plaintiff Philip R. McHugh respectfully requests that this Court

deny RHR International LLP’s motion for leave to file a sur-reply. However, in the event it does

grant such leave, Plaintiff respectfully requests for leave to respond to RHR’s sur-reply.


                                                       Respectfully Submitted,

                                                       /s/ Peter A. Saba_____
                                                       Peter A. Saba, Esq. (0055535)
                                                       Joshua M. Smith, Esq. (0092360)
                                                       STAGNARO, SABA
                                                       & PATTERSON CO., L.P.A.
                                                       2623 Erie Avenue
                                                       Cincinnati, Ohio 45208
                                                       (513) 533-2701
                                                       (513) 533-2711 (fax)
                                                       pas@sspfirm.com
                                                       jms@sspfirm.com

                                                       /s/ John J. McHugh
                                                       John J. McHugh, III
                                                       McHUGH & McCARTHY, LTD
                                                       5580 Monroe Street
                                                       Sylvania, Ohio 43560

                                                  7
  Case: 1:21-cv-00238-MRB Doc #: 64 Filed: 06/11/24 Page: 8 of 8 PAGEID #: 2601




                                                    (419) 885-3597
                                                    (419) 885-3861 (fax)

                                                    Co-Counsel for Plaintiff Philip R.
                                                    McHugh


                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a copy of the foregoing was served on all counsel
of record this 11th day of June, 2024 via the Court's CM/ECF system.

                                                    /s/ Peter A. Saba
                                                    Peter A. Saba, Esq. (0055535)




                                                8
